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13    PUBG Santa Monica, Inc.

14
                                 UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                        OAKLAND DIVISION
17

18
   PUBG Corporation and PUBG Santa Monica,            Case No. 4:18-cv-02010-JSW
19 Inc.
                                                      JOINT STIPULATION TO
20                Plaintiffs,                         RESCHEDULE CASE MANAGEMENT
                                                      CONFERENCE AND [PROPOSED]
21         v.                                         ORDER

22 NetEase, Inc., NetEase Information
   Technology Corporation, and Hong Kong
23 NetEase Interactive Entertainment Limited

24                Defendants.

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         JOINT STIPULATION TO RESCHEDULE CASE MANAGEMENT CONFERENCE AND
     ACTIVE 233787069 [PROPOSED] ORDER, CASE NO. 4:18-CV-02010-JSW
        Case 4:18-cv-02010-JSW Document 44 Filed 07/11/18 Page 2 of 3



 1          Plaintiffs PUBG Corporation and PUBG Santa Monica, Inc. (collectively “PUBG”) and

 2 Defendants NetEase Inc., NetEase Information Technology Corporation, and Hong Kong NetEase

 3 Interactive Entertainment Limited (collectively, “NetEase”), by and through their respective

 4 attorneys, file this Joint Stipulation to reschedule the Case Management Conference currently set

 5 for July 20, 2018 at 11:00 A.M.

 6          WHEREAS, pursuant to the April 16, 2018 Order Setting Case Management Conference

 7 and Requiring Joint Case Management Conference Statement in this action (D.I. 18), the Initial Case

 8 Management Conference in this action is scheduled for July 20, 2018 at 11:00 A.M.;

 9           WHEREAS, NetEase’s lead trial counsel, Claude Stern, is unavailable to attend the

10 currently scheduled case management conference;

11          WHEREAS, pursuant to the calendar posted on the website for the District Court for the

12 Northern District of California, the parties understand that the Court is available on August 17, 2018

13 for an initial case management conference;

14          WHEREAS, the parties represent that their respective lead counsels will also be available

15 on August 17, 2018 for an initial case management conference;

16          WHEREAS, the parties have propounded or intend to soon propound discovery requests and

17 desire to extend the deadline for each party to object or respond to said discovery requests;

18          WHEREAS, the parties desire to extend the deadline for the exchange of disclosures

19 pursuant to Fed. R. Civ. P. 26(a)(1).

20          IT IS HEREBY STIPULATED by and between counsel and subject to the approval of the

21 Court that the parties, having met and conferred, agree to the following:

22              •   The Case Management Conference currently set for July 20, 2018 is rescheduled to
                    August 17, 2018 at 11:00 a.m.
23
                •   The Joint Case Management Conference Statement shall be filed on or before Friday,
24
                    August 10, 2018.
25
                •   The parties shall serve their respective disclosures pursuant to Fed. R. Civ. P.
26                  26(a)(1) on or before August 3, 2018.

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         JOINT STIPULATION TO RESCHEDULE CASE MANAGEMENT CONFERENCE AND
     ACTIVE 233787069 [PROPOSED] ORDER, CASE NO. 4:18-CV-02010-JSW
        Case 4:18-cv-02010-JSW Document 44 Filed 07/11/18 Page 3 of 3



 1            •   PUBG shall serve its first set of discovery requests on or before July 18, 2018, and
                  the deadline for NetEase to respond to PUBG’s first set of discovery requests is
 2                extended to September 14, 2018.
 3
              •   The deadline for PUBG to respond to NetEase’s first set of discovery requests, served
 4                on July 2, 2018, is extended to September 7, 2018.

 5            •   Both Parties reserve the right to raise any and all applicable objections to any
                  discovery that has been served, or will be served, and the foregoing agreement
 6                regarding the due dates for certain discovery responses shall not constitute, or be
                  construed as, a waiver of any such applicable objections.
 7

 8         SO STIPULATED AND AGREED.

 9 DATED: July 11, 2018                     SIDLEY AUSTIN LLP

10

11                                             By /s/ Ketan V. Patel
                                                 Ketan V. Patel
12
                                                 Attorneys for Plaintiffs PUBG Corporation and
13                                               PUBG Santa Monica, Inc.

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15
     DATED: July 11, 2018                   QUINN EMANUEL URQUHART & SULLIVAN
16
                                            LLP
17

18
                                               By /s/ Claude M. Stern
19                                               Claude M. Stern
20                                               Attorneys for Defendants NetEase Inc., NetEase
                                                 Information Technology Corporation and Hong
21                                               Kong NetEase Interactive Entertainment Limited

22
     PURSUANT TO STIPULATION, IT IS SO ORDERED:
23

24
           July 11
25 DATED: _______________, 2018                 By: ______________________________
                                                       The Hon. Jeffrey S. White
26                                                     United States District Court Judge
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         JOINT STIPULATION TO RESCHEDULE CASE MANAGEMENT CONFERENCE AND
     ACTIVE 233787069 [PROPOSED] ORDER, CASE NO. 4:18-CV-02010-JSW
